               Case 1:19-cv-01049-MN Document 2 Filed 06/06/19 Page 1 of 55 PageID #: 6
Pro Se I (Rev. 12/ 16) Complaint for a Civil Case



                                         UNITED _STATES DISTRICT; COURT
                                                                         for the
                                                             District of Delaware
                                                                    Civil Division
                                                                                                                19-          1.04 9
                                                                           )       Case No.
                          JAY BRODSKY
                                                                           )                        (to be filkd ~n   by the t Le~ •s4J~ce)
                                                                           )
                               P lainti.ff(s)                              )
(Write the full name of each plaintiff who is filing this complaint.
If the names ofall the plaintiffs cannot fit in the space above,
                                                                           )       Jury Trial :   (check one)   I.ti Yes 0No
please write "see attached " in the space and attach an additional         )
page with the fa ll list of names.)                                        )
                                   -v-                                     )
     FIRST AMERICAN TITLE INSURANCE COMPANY                                )
              TITLE-VEST AGENCY, LLC.                                      )
       FIRST AMERICAN TITLE COMPANY OF NEW                                 )
                       YORK                                                )
                               Defendant(s)
(Write the fu ll name ofeach defendant who is being sued. ff the
                                                                           )
names of all the defendants cannot fit in the space above, please          )
write "see attached" in the space and attach an additional page            )
with the fu ll list of names.)



                                                    COMPLAINT FOR A CIVIL CASE

I.        The Parties to This Complaint
          A.          The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                 Name                                  Jay Brodsky
                                 Street Address                        240 East shore Road, #444

                                 City and County                       Great Neck                 Nassau County

                                 State and Zip Code                    New York               11023

                                 Telephone Number                      (973) 568-1666
                                 E-mail Address                        demcointerexport@yahoo.com


          B.          The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known). Attach additional pages if needed.


                                                                                                                                              Page l of 5
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                     Defendant No. 1
                                Name                         First American Title Insurance Company
                                Job or Title (if known)
                                 Street Address              1 First American Way
                                City and County              Santa Ana           Orange County
                                 State and Zip Code          California.      92707
                                Telephone Number             714-800-3000
                                E-mail Address (if known)    www.firstam.com/title


                     Defendant No . 2
                                Name                         First American Title Insurance Company of New York
                                Job or Title (if known)
                                 Street Address              666 3rd Avenue, 5th Floor
                                City and County              New York            New York County
                                 State and Zip Code          New York                  10017
                                Telephone Number             (800) 437-1234
                                E-mail Address (if known)


                     Defendant No. 3
                                Name                         Title Vest Agency, LLC.
                                Job or Title (if known)
                                 Street Address              11 O East 42nd Street, 10th Floor
                                 City and County             New York            New York County
                                 State and Zip Code          New York                   10017
                                Telephone Number             (800) 437-1234
                                E-mail Address (if known)


                     Defendant No. 4
                                Name                         Does' 1 through 5
                                 Job or Title (if known)
                                 Street Address              unknown
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)



                                                                                                                  Page 2 of 5
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II.       Basis for Jurisdiction

          Federal courts are courts oflimitedjurisdiction (limited power) . Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S .C. § 1331 , a case arising under the United States Constitution or federal laws or treaties
          is a federal question case . Under 28 U.S .C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case . In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                  0Federal question                                Iv' IDiversity of citizenship
          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)    Jay Brodsky                                 , is a citizen of the
                                                                   -----------------
                                           State of (name)    New York
                                                              ----------------

                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                , is incorporated
                                                                       ----------------
                                           under the laws of the State of (name)
                                           and has its principal place of business in the State of (name)



                                (J.f more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information/or each additional plaintiff)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)                                                , is a citizen of
                                                                      - - - - - - - -- -- - -- - -
                                           the State of (name)                                               0 r is a citizen of
                                           (foreign nation)


                                                                                                                            Page 3 of 5
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                                b.         If the defendant is a corporation
                                           The defendant, (name)      First American Title Insurance Co.         , is incorporated under
                                           the laws of the State of (name)     Delaware                                    , and has its
                                                                               ----------------
                                           principal place of business in the State of (name)       California
                                                                                                --------------
                                           O r is incorporated under the laws of (foreign nation)
                                           and has its principal place of business in (name)


                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                  $7,000,000+




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments . State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
          See attached complaint




IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time . Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
           see attached complaint




                                                                                                                                Pae:e 4 of 5
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V.         Certification and Closing

           Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
           and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
           unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
           nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
           evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
           opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
           requirements of Rule 11 .

           A.        For Parties Without an Attorney

                     I agree to provide the Clerk' s Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk' s Office may result
                     in the dismissal of my case.

                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff


           B.        For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




                                                                                                                       Paee 5 of 5
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Jay Brodsky
240 East Shore Road, #444
Great Neck, NY 11023
Telephone: (973) 568-1666
E-mail: demcointerexport@yahoo.com
Plaintiff ProSe on Behalf of Himself

Case No.-=---------



                         UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE



THE MATTER OF:                                                       .
                                                                     •
                                                                     •
                                                                         Issues Before The Court:
                                                                                .
                                                                         Fraud rn the Conveyance of Real
JAY BRODSKY                                                          •   Property
PLAINTIFF                                                            :   Fraud in the Concealment of
                                                                     •   Conveyance of Real Property
                                                                     :   Deceptive and Unlawful Business
                                       -against-                     •   Practices
                                                                     •   NY Gen. Bus. Law § 349
                                                                     •
                                                                      • NY Exec. Law § 63(1)
                                                                     •• Common Law Fraud
FIRST AMERICAN TITLE                                                 •   Conspiracy
INSURANCE COMPANY                                                    :   (RICO) 18 U.S.C. § 1%1 et seq.,
a/k/a First American Financial Corporation                           •   18 U.S .C. § 1341
TITLEVEST AGENCY, LLC                                                :   18 U.S .C. § 1343
FIRST AMER! CAN TITLE COMPANY                                        •   18 U.S.C. § 1028A
NEWYORK                                                              •
                                                                     •
DOE'S 1 through 5 et al                                              •
DEFENDANTS'                                                          •
                                                                     •
                                                                     •
                                                                     •
 • • • • • • • • • • • • a • • • • • • • • • • • • • • • • • • • •




VERIFIED COMPLAINT TO SET ASIDE FRAUDULENT CONVEYANCE
     OF REAL PROPERTY AND FOR DAMAGES; CONSPIRACY


                                    Summons and Complaint                           District of Delaware
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                COME NOW , Jay Brodsky, hereafter known as , ' PLAINTIFF' by

         and through his own self representation and for his cause of action against

         the Defendants herein, states and alleges as follows:

           I.      JURISDICTION, VENUE AND JURY REQUEST

l.       This Court enjoys subject matter jurisdiction over this action under,

         28 U.S.C. § 1332(a)(l) because Plaintiff and Defendants are citizens of

         different states and the amount in controversy exceeds $75,000.

2.       This Court enjoys personal jurisdiction over the Defendants because,

         'FIRST AMERICAN TITLE COMPANY,' a subsidiary of, ' FIRST

         AMERICAN FINANCIAL CORPORATION,' hereafter known as,

         'FIRST AMERICAN ,' is a registered DELAWARE Corporation and as such

         is governed by, and must be construed in accordance with , the laws of the

         State of Delaware; 'FIRST AMERICAN conducts business nationwide from

         its headquarters in Santa Ana, California; TitleVestAgency, LLC is a

         national title insurance agency, acquired by, 'FIRST AMERICAN ,'

         headquartered on Wall Street in New York , New York; The incident where

         the alleged transgression took place is BROOKLYN, NEW YORK and the

         ' Plaintiff-Target' is a resident of New York State.


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3.   This Court enjoys venue under 28 U.S.C. § 139Ha)(2) because all or a

      substantial portion of the events that gave rise to Plaintiffs' claims transpired

     in this courts jurisdiction, including but not limited to, Fraud in the

      Conveyance of Real Property, Fraud in the Concealment of Conveyance of

     Real Property, Deceptive and Unlawful Business Practices, NY Gen. Bus.

      Law § 349, NY Exec. Law§ 63(1), (RICO) 18 U.S.C. § 1961 et seq., 18

      U.S.C. § 1341, 18 U.S.C. § 1343 Intentional Infliction of Emotional

     Distress, Conspiracy and Common Law Fraud, 18 U.S.C. § 1028(a).

                    II.           JURY DEMAND

4.   Plaintiff demands a trial by jury of all issues so triable pursuant to Rule 38 of

      the Federal Rules of Civil Procedure.

                    III.           THE PARTIES

      Plaintiff:

5.   JAY BRODSKY, 240 East Shore Road, #444, Great Neck, New York 11023;

      Defendants:

6.   FIRST AMERICAN TITLE COMPANY, FIRST AMERICAN FINANCIAL

      CORPORATION, 1 FirstAmerican Way, Santa Ana, California 92707;




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7.       FIRST AMERICAN TITLE COMPANY OF NEW YORK, 666 3rd Avenue ,

         5th floor, New York, NY 10017;

8.       FIRST AMERICAN FINANCIAL CORPORATION, 1 First American Way,

         Santa Ana, California 92707;

9.       TITLE-VEST AGENCY, LLC., 110 East 42nd Street, 10th Floor, New York,

         New York 10017; 550 Mamaroneck Avenue , Suite 401 , Harrison, NY 10528;

         4440 PGA Boulevard, Suite 600, Palm Beach Gardens, FL33410; 100

         Crescent Court, Suite 700, Dallas, TX 75201;

10.      DOES' (1) through (5) Plaintiff is presently unable to confirm which of,

         'FIRST AMERICANs' wholly owned subsidiaries and/or affiliated

         companies; DOES ' (1) through (5) are liable for the claims asserted herein.

         Discovery will allow Plaintiff to proceed with naming additional , ' FIRST

         AMERICAN ' affiliated and owned companies. Other persons identities

         included in DOES ' (1) through (5), whose identities are unknown to Plaintiff

         participated in the events alleged herein which give rise to the claims

         asserted by Plaintiff.

                    I~        GENERAL BACKGROUND

11.      Plaintiff is a natural born disabled citizen of the United States [Exhibit #1].


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12.   'FIRST AMERICAN,' is a United States financial services company and is a

      leading provider of title insurance and settlement services to the real estate

      and mortgage industries.

13.   ' FIRST AMERICANs' family of companies' core business lines include title

      insurance and closing/settlement services; title plant management services;

      title and other real property records and images; valuation products and

      services; home warranty products; property and casualty insurance; and

      banking , trust and investment advisory services throughout the United

      States.

14.   With total revenues of $5.8 billion in 2017, the company offers its products

      and services directly and through its agents throughout the United States

      (including New York) and abroad.

15.   'FIRST AMERICAN' offers its products and services directly and through

      its agents and partners nationwide and in more than 40 countries (First

      American Title Insurance Company of New York).

16.   In June 2010, 'FIRST AMERICAN' was established when it split its

      businesses to create two separate legal entities, 'FIRST AMERICAN

      FINANCIAL CORPORATION ,' which provides title and financial services


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      and ' CORE-LOGIC INC. ,' which provides information solutions and

      analytics services to the real estate and mortgage industry.

17.   ' FIRST AMERICAN' provides title insurance protection and professional

      settlement services for homebuyers and sellers, real estate agents ,

      homebuilders and developers , title agencies and legal professionals to

      facilitate real estate purchases, construction, refinances or equity loans.

18.   'TITLE-VEST COMPANY, LLC ' is a national title insurance agency

      headquartered on Wall Street in New York, New York. The company offers

      a wide range of property and title-related services and handles all transaction

      types , from large commercial transactions to residential purchases and

      mortgage refinances. In March 2015, 'TITLE-VEST' was acquired by

      'FIRST AMERICAN. '

               ~         FACTUAL BACKGROUND

19.   Plaintiff, is a natural born citizen who resides in the United States.

20.   Bob Brodsky (deceased), husband to Shirley Brodsky (deceased) and father

      of two children of which Plaintiff is a son and Sandi Ingber is a daughter.

21.   Decedent, Bob Brodsky allegedly died of natural causes on January 9, 2013.




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22.   Bob Brodsky, hereafter known as, ' BB' and Plaintiff had jointly owned a

      business, ' COASTAL INTERNATIONAL, INC. ,' hereafter known as,

      'COASTAL' [Exhibit #2] from 1984 until dissolution by proclamation in

      1992. Various other business names succeeded ' COASTAL' until 2013 ,

      however ownership remained the same (National Parts, 711 Auto Parts, TransCom,

      etc.) .


23.   Beginning in 1973 , Bob Brodsky and Plaintiff, a/k/a, 'PARTNERs,'

      jointly owned a used auto parts business by the same name, 'COASTAL'

      (partnership). Income tax returns [Exhibit #3] reflecting the Partners joint

      ownership of ' COASTAL' established ownership at [50% Bob Brodsky -

      50% Jay Brodsky].

24.   In 1980, after the ' PARTNERs' achieved success, jointly purchased a

      commercial property (warehouse) , '730 CHESTER STREET, BROOKLYN,

      NEW YORK' [Block 3642/Lot 49/County of Kings][Exhibit #14], hereafter

      known as '730 CHESTER. '

25.   Shortly thereafter in 1981 , after achieving further success , the 'PARTNERs'

      expanded the business by jointly purchasing a second commercial property

      known as , 711 CHESTER STREET, BROOKLYN, NEW YORK


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        (warehouse) [Block 3643/Lot 19/County of Kings], hereafter known as ,

        '711 CHESTER. '

26.     In order to protect both commercial properties the 'PARTNERs' legally

        formed a shell c-corporation known as , 'BOB SHIRLEY REALTY

        CORPORATION,' hereafter known as, ' BOB-SHIRL' which was

        predeceased by an earlier iteration, 'JASAN REALTY CORPORATION. '

        [Exhibit #14]


27.     'BOB-SHIRL,' was established as a shell corporation, having no material

        assets other than the value of the two commercial properties, '730

        CHESTER' and '711 CHESTER. ' 'BOB-SHIRL' never applied for, nor was

        awarded a Federal or New York State, 1Employer Identification Number

        (EIN), never established a bank checking or savings account, never filed a

        Federal or New York State tax return and appointed only two officers, the

        'PARTNERs' with equally shared distribution of stock [Exhibit #14].

28.     '730 CHESTER' had been purchased from, 'ZAM REALTY, INC.,'

        hereafter known as , 'ZAM. ' The 'PARTNERs' jointly tendered a cash down


1The Employer Identification Number (EIN), also known as the Federal Employer
Identification Number (FEIN) or the Federal Tax Identification Number, is a unique nine-digit
number assigned by the Internal Revenue Service (IRS) to business entities operating in the
United States for the purposes of identification.

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      payment to 'ZAM,' owned by, 'JOSEPH ZAMBUTO, hereafter known as ,

      'ZAMBUTO,' with the balance of the purchase price self mortgaged by

      'ZAMBUTO' for a period of ten years. Shortly thereafter a proposal was

      proffered to the 'PARTNERs' by 'ZAMBUTO,' to satisfy the balance of the

      mortgage prematurely in lieu of a discount [Exhibit #4] with one material

      caveat, pecuniary remuneration was to be tendered in cash. The'PARTNERs'

      agreed to 'ZAMBUTOs ' terms. With the mortgage duly satisfied, the

      property was fully conveyed to the 'PARTNERs' corporation, 'BOB-SHIRL'

      free from any and all encumbrances at 50% (Jay Brodsky)-50% (Bob

      Brodsky) [Exhibit #4]. All funds tendered to 'ZAMBUTO' had been derived

      from, 'COASTAL' (partnership) and later from, 'COASTAL' (corporation)

      the 'PARTNERs' jointly owned business [Exhibit #5].

29.   The property known as , ' 711 CHESTER' was jointly purchased by the

      'PARTNERs' in 1981 , from, ' MORRIS and BEATRICE SILVERMAN,'

      hereafter known as ' SILVERMANs' for, 'ONE-HUNDRED THOUSAND

      DOLLARS ' ($100,000.00). The 'PARTNERs' tendered a cash down

      payment totaling , ' HFTY-THOUSAND DOLLARs' ($50,000.00) with the

      balance held as a self mortgage by the , ' SILVERMANs. ' Over the next ten


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        years the mortgage was dutifully satisfied after tendering monthly payments,

        $833.33. Mortgage payments were derived from both, 'COASTAL' [Exhibit

        #5]    (partnership) until 1984, then from ' COASTAL' (corporation) [Exhibit

        #2].    The legal work required to effectuate the purchase of '711 CHESTER'

        and to incorporate ' COASTAL' was done by the 'PARTNERs' attorney,

        2 'Mr.   ALAN LEBENSFELD, ESQ. ,' who currently practices law in, 'RED

        BANK, NEW JERSEY.' Upon full satisfaction of the mortgage for, '711

        CHESTER' the property was conveyed to 'BOB-SHIRL' free of all

        encumbrances at 50% (Jay Brodsky) -50% (Bob Brodsky) (transcript of

        Lebensfeld deposition April, 2016 forthcoming at trial).


               VI.            SUBSTANTIVE ALLEGATIONS

30.     On the 12th day of August, 2010, 'BOB BRODSKY,' hereafter known as ,

        'BB ' took part in a conspiracy with Does [1] through [5], to defraud,

        deprive, delude , cheat and/or embezzle real property, '730 CHESTER' and

        '711 CHESTER' belonging to Plaintiff. 'BB ' surreptitiously and with

        malice, conveyed two (2) parcels of real property (730 & 711 Chester Street)

        from, 'BOB-SHIRL', to 'BOB BRODSKY,' thereby failing to inform


2Lebensfeld, Alan M - Lebensfeld Borker & Sussman (Lawyers) is practicing law in Red Bank,
New Jersey-Was deposed in 2016 at his office.

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         Plaintiff that the unlawful act of conveyance had been effectuated [Exhibit

         #6][Exhibit #7].


31.      ' BB ' was a severe 3alcoholic, consuming one liter or more of Vodka

         ( 4Smirnoff)   or Gin (5Gordons) per day.

32.      Consuming excessive amounts of alcohol caused ' BB ,' to metastasize from a

         rational human being into a violent caricature of himself. Licensed by the

         City of New York to carry a concealed handgun, 'BB ' always had a 6 Smith

         and Wesson snub nose 38 caliber revolver at his side.

33.      In 1999, after consuming nearly a liter of Smirnoff Vodka, ' BB '

         transgressed into a monster. For no apparent reason other than his highly

         7intoxicated   imagination, ' BB ' withdrew the handgun from his person,

         aimed the weapon at Plaintiff and asserted in no uncertain terms , ' I'm going


3Alcoholism , also known as alcohol use disorder (AUD), is a broad term for any drinking of
alcohol that results in mental or physical health problems

4Smirnoff (/'smrernof/; Russian: [sm1rr'nof]) is a brand of vodka owned and produced by the
British company Diageo. The Smirnoff brand began with a vodka distillery founded in Moscow
by Pyotr Arsenievich Smirnov (1831-1898)

s Gordon's is a brand of London dry gin first produced in 1769. The top markets for Gordon 's
are (in descending order) the United Kingdom, the United States and Greece .111 It is owned by
the British spirits company Diageo and, in the UK, is made at Cameron Bridge Distillery in Fife,
Scotland
6   Smith & Wesson (S&W) is an American manufacturer of firearms, ammunition and restraints.
7The Hazelden Betty Ford Foundation is a force of healing and hope for individuals, families
and communities affected by addiction to alcohol and other drugs. As the nation 's leading
nonprofit provider of comprehensive inpatient and outpatient treatment for adults and youth

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        to kill you. ' Sensing an existential threat to his well being , Plaintiff

        withdrew form ' 711 CHESTER' to report the incident to the police at the

        875th Precinct, Brooklyn, New York. Overhearing Plaintiffs' official

        statement, the Captain in charge of the precinct ordered his officers to arrest

        and charge ' BB ' with , ' 9assault with a deadly weapon. ' Feeling uneasy,

        prompted Plaintiff to request that the police acquiesce from arresting his

        father. After some lively debate, the Captain relented but still insisted on

        removing the firearm and license to carry a concealed firearm from ' BB. '

34.     After careful consideration and still fearing for his life, Plaintiff decided it

        was best to maintain a safe distance from 'BB ' in order to insure that he

        would not become a statistic. A quiet agreement was reached between the

        'PARTNERs' establishing that Plaintiff would remain a partner in the

        business and real property however from that point on operate the same

        business from another location in, The Bronx, New York (730 Whittier




875th Police Precinct Station House is a historic police station located at Brooklyn in New
York, New York. It was built in 1886 and is a three-story, yellow brick building above a
sandstone foundation and watertable in the Romanesque Revival style

9When one person engages another using a deadly weapon, they have committed assault with
a deadly weapon. In this situation, the victim does not need to experience serious physical
harmed by the weapon: it could have been used to threaten them. The victim only needs to
believe they are going to experience imminent serious harm.

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      Street). All business operations remained unchanged but the daily

      responsibilities of the ' PARTNERs' differed thereafter.

35.   At no time before, during or after the assault directed towars Plaintiff by

      'BB ,' did the ownership of the business or the ownership of the real estate

      by the ' PARTNERs' change hands in any fashion. There had been no

      concessions or abrogations by either party to denounce each 'PARTNERs'

      rightful ownership of the business, ' COASTAL,' or any other business entity

      established thereafter or have any affect on real estate owned by the

      ' PARTNERs' which had been purchased entirely with corporate (Business)

      funds [Exhibit #5].

36.   Following 'BBs' death (January 9, 2013), a, ' Last Will and Testament,'

      [Exhibit #8]   was disclosed , which prior to 'BBs' death was unknown to

      Plaintiff. (until February, 2013) . In order to ascertain the exact contents of

      'BBs,' ' Last Will and Testament,' Plaintiff employed the services of an

      attorney, 'HARRY BRAUNSTEIN ,' Jericho, New York. ' 'BRANSTEIN'

      had several conversations with 'BBs,' "Wills and Estate" attorney,

      'MICHAELANGUILO ' only to discover that, ' BB ' had disinherited

      Plaintiff from his estate [Exhibit #9]. Shortly thereafter, further discussions


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      were reestablished by a second attorney, RICHARD LIBRETT, Esq. Garden

      City, New York [Exhibit #10] who further represented Plaintiff.

37.   Plaintiff was perplexed when he discovered that, 'BB' had illegally

      conveyed the jointly owned properties, '730 CHESTER' and '711

      CHESTER,' to the, BOB BRODSKY REVOCABLE TRUST [Exhibit #11].

38.   During a Surrogates Proceeding adjudicated at the Surrogates Court, Queens

      County New York; commencing in April 2013 and ending , June , 2016,

      certain documents were compelled by Plaintiff through a court ordered,

      'Subpoena Duces Tecum,' which was served upon the Executrix, Sandi

      Ingber (Plaintiffs' sister), to dispute the contents of 'BBs,' 'Last Will and

      Testament' [Exhibit #12].

                VII.      STATUTE OF LIMITATIONS

39.   Dorothy M. Faison, etc. v Tonya Lewis, etc., 26 NY3d 946, 2015 N.Y.

      LEXIS 2540, 17 NYS3d 63 , 38 NE3d 806 (N.Y., Sept. 3, 2015) , 'Under the

      Court of Appeals of New York's case law, a forged deed is 'Void ab lnitio,'

      meaning a legal nullity at its inception. As such, any encumbrance upon real

      property based on a forged deed is null and void;' 'A forged deed lacks the

      voluntariness of conveyance. Therefore, it holds a unique position in the


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      law; a legal nullity at its creation is never entitled to legal effect because

      void things are as no things. '

40.   New York's recording statute, Real Property Law § 291 , does not apply to a

      forged deed. Neither can recording a forged deed transform it into a

      document with legal authority to establish a valid property interest, for it

      does not change the legal rights of anyone. The fact that a false and

      fabricated writing of this character is deposited in a public office for record,

      and is actually recorded, can add, ' nothing to its legal efficacy. ' The

      recording statute applies to genuine instruments and not to forged ones.

41.   A claim against a forged deed is not subject to a statute of limitations

      defense. A forged deed is void, not merely voidable. That legal status cannot

      be changed, regardless of how long it may take for the forgery to be

      uncovered. A statute of limitations does not make an agreement that was

      void at its inception valid by the mere passage of time, (Symbol Tech., Inc. v

      Deloitte &Touche, LLP, 69 AD3d 191 , 888 NYS2d 538; Riverside

      Syndicate, Inc. v Munroe, 10 NY3d 18, 882 NE2d 875, 853 NYS2d 263;

      Marden v Dorthy, 160 NY 39, 54 NE 726; Yin Wu v Wu, 288 AD2d 104, 733

      NYS2d 45; Karan v Hoskins, 22 AD3d 638, 803 NYS2d 666; Kraker v Roll,


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      100AD2d 424,474 NYS2d 527; Rosen v Rosen, 243 AD2d 618, 663

      NYS2d 228; Matter of Rothko , 43 NY2d 305,372 NE2d 291,401 NYS2d

      449; Diocese of Buffalo v McCarthy, 91 AD2d 213, 458 NYS2d 764; 3636

      Greystone Owners, Inc. v Greystone Bldg. Co., 51 AD3d 461,857 NYS2d

      121.)(Perry v Williams, 40 Misc 57, 81 NYS 204; Nash v Duroseau, 39

      AD3d 719,835 NYS2d 611; 527-9 Lenox Ave. Realty Corp. v Ninth St.

      Assoc., 200AD2d 531 , 606 NYS2d 699; County of Tioga v Solid Waste

      Indus., 178AD2d 873,577 NYS2d 922.)

         VIII.      COUNT ONE
      FRAUDULENTCONVEYANCEOFCORPORATESHARES
                      New York Real Property Law § 299
                      New General Business Law 1104(a)

42.   Plaintiff re-alleges and incorporates the fore going allegations as set forth

      herein this Complaint.

      WHEREFORE, Plaintiff brings this proceeding on behalf of himself.

43.   Both '711 CHESTER' and '730 CHESTER,' two (2) commercial warehouse

      properties, had beenjointly purchased by the ' PARTNERs' in 1980 and 1981

      respectively.

44.   On March 5, 2010, unbeknownst to Plaintiff, a document titled, 'Assignment

      of Shares" [Exhibit #13] was effectuated by 'BB' to convey corporate shares

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         belonging 'BOB-SHIRL,' to the sole possession and/or ownership of 'BB.'

         The,' Assignment of Shares,' document was neither proofed, acknowledged

         or bears the signature and/or stamp of a licensed notary public. Notably, the

         document acting as , 'WfESTIMONY FROM THE GRAVE,' disjunctively

         and/or solitarily conveyed only, "HIS SHARES," meaning, 'BBs,' shares of

         ' BOB-SHIRL,' to the , 'Bob Brodsky Revocable Trust' [Exhibit #11]. The

         document also lacks a 11corporate seal as required by New York State Real

         Property Law 292(a). Schulman Family Enters. v. Schulman, 2014 N.Y.

         Misc. LEXIS 3627, Supreme Court, 10th JD, July 31, 2014; 'The other

         alternative - that it was transferred by the partnership - also fails. For that to

         have occurred, the Articles of General Partnership specifically state that the

         conveyance of any asset requires approval by a majority of the partners(§

         5.8[A]) and any transfer 80% consent(§ 5.09[C].' 'Any transaction which

         has been conducted in violation of the fiduciary duty may be set aside and

         the parties returned to their prior status (Rose Ocko Foundation v. Lebovits,

         259 AD2d 685,686 N.Y.S.2d 861 [2d Dept 1999]) and that remedy has been


10The basic prerequisites of admissibility are relevance, materiality, and competence. In
general, if evidence is shown to be relevant, material, and competent, and is not barred by an
exclusionary rule, it is admissible. Evid. Code§ 351; Fed. Rules Evid. 402.
11   New York Consolidated Laws, Real Property Law - RPP § 292-a

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      long recognized. Norwegian-Amer. Securities Corp. v. Schenstrom, 124

      Misc 235,207 N.Y.S. 163 (Sup Ct NY Cty 1924).'

45.   New York Real Property Law§ 299 -Acknowledgments and proofs without

      the state, but within the United States or any territory, possession, or

      dependency thereof:

         The acknowledgment or proof of a conveyance of real property situate in
         this state, if made (a) without the state but within the United States, (b)
         within any territory, possession, or dependency of the United States, or (c)
         within any place over which the United States, at the time when such
         acknowledgment or proof is taken, has or exercises jurisdiction,
         sovereignty, control or a protectorate, may be made before any of the
         following officers acting within his territorial jurisdiction or within that of
         the court of which he is an officer:

         1. A judge or other presiding officer of any court having a seal, or the clerk
         or other certifying officer thereof.

         2. A mayor or other chief civil officer of any city or other political
         subdivision.

         3. A notary public.

         4. A commissioner of deeds appointed pursuant to the laws of this state to
         take acknowledgments or proofs without this state.

         5. Any person authorized, by the laws of the state, District of Columbia,
         territory, possession, dependency, or other place where the
         acknowledgment or proof i made, to take the acknowledgment or proof of
         deeds to be recorded therein.

                    IX.           COUNT TWO
           FRAUD IN THE CONVEYANCE OF REAL PROPERTY
46.   Plaintiff re-alleges and incorporates the fore going allegations as set forth

      herein this Complaint.



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47.    WHEREFORE, Plaintiff brings this proceeding on behalf of himself.

48.    Both '711 CHESTER' and '730 CHESTER,' two (2) commercial warehouse

       properties, had beenjointly purchased by the 'PARTNERs' in 1980 and 1981

       respectively.

49.    On the 12th day of August, 2010, 'BB ' allegedly executed a, " 12Bargain

       and Sale Deed , with covenant."

50.    The, "Bargain and Sale Deed, with Covenant," was issued by, 'FIRST

       AMERICAN ,' 333 Earle Ovington Blvd. , Uniondale, NY 11553 (a branch

       subsidiary of 'FIRST AMERICAN' ).

51.    The, ' Bargain and Sale Deed, with Covenant,' allegedly appropriated

       conveyance of ownership of '711 CHESTER' and '730 CHESTER' from,

       'BOB-SHIRL' [Exhibit #13] (grantor) to the, ' Bob Brodsky, surviving spouse

       of Shirley Brodsky as Trustee of the, Bob Brodsky Revocable Trust,' with no

       pecuniary consideration [Exhibit #11].

52.    As notated on, page [15], paragraph [41] hereinabove, ' BB ' unlawfully

       conveyed 13 HIS shares of, 'BOB-SHIRL' [Exhibit #13] thereby allegedly

12A bargain and sale deed is in United States real property law, a deed "conveying real
property with covenants.
13Used to singularly indicate the one or ones belonging to him: In this case it indicates his
portion of shares belonging to, " Bob Shirley Realty Corp" exclusive of shares belonging to
others.

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         materializing into a personal asset belonging to , 'BB ,' March 5, 2010, five

         (5) months prior to a second alleged conveyance annotated in the ' Bargain

         and Sale Deed, with Covenant,' dated August 12, 2010 [Exhibit#6][Exhibit

         #7].


53.      Most importantly, the unrecognizable signature inscribed on that same

         document, bears no notary public signature and/or seal in consonance too,

          'New York Real Property Law§ 299. '

54.      14Black's   Law Dictionary defines forgery as the "act of fraudulently making

         a false document or altering a real one to be used as if genuine." It is a

         criminal offense in the U.S. , designated as either a felony or a high-degree

         misdemeanor. In some states , the charges depend on the details of the crime,

         including the dollar amount and/or the nature of the document; forging real

         estate deeds generally leads to a higher-level offense.

55.      Many fraudulent deeds contain one or more forged details. The grantor or an

         authorized representative must sign all real property deeds , so a "false

         document" may be a new transfer with a non-authentic signature. A signer

         may pose as the property owner and sign the deed in front of a notary.


14   Black's Law is the most widely used law dictionary in the United States.

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       Others may use a completely made-up name or identify themselves as the

       owner's personal representative.

56.    NYS Real Property Law § 292, Except as otherwise provided by this article ,

       such acknowledgment can be made only by the person who executed the

       conveyance, and such proof can be made only by some other person, who

       was a witness of its execution, and at the same time subscribed his name to

       the conveyance as a witness , " 15since under New York law the only formal

       requirement for recording a conveyance is that it be duly acknowledged or

       proved and be accompanied by a certificate thereof." "the sole statutory

       requisite of such acknowledgment is that it must have been made before an

       officer who knows, or has satisfactory evidence, that the person making the

       acknowledgment is the person who executed the instrument and is described

       in it." Furthermore, "Since these instruments are required to be

       acknowledged or proved in a manner similar to a deed, a defective

       acknowledgment, though not affecting the validity of the instrument

       between the immediate parties, would render it invalid as to third persons



15Lester Nelson, Conveyancing in New York , 43 Cornell L. Rev. 617 (1958) Available at: http://
scholarship.law.cornell.edu/clr/vol43/iss4/3


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      without notice," Spraker v. Spraker, 152 Misc. 867,870, 274 N.Y. Supp.

      454, 457 (Sup. Ct. , Herkimer County 1933).

57.   NYS Real Property Law§ 291; "A conveyance of real property, within the

      state, on being duly acknowledged by the person executing the same, or

      proved as required by this chapter, and such acknowledgment or proof duly

      certified when required by this chapter, may be recorded in the office of the

      clerk of the county where such real property is situated, and such county

      clerk shall , upon the request of any party, on tender of the lawful fees

      therefor, record the same in his said office. Every such conveyance not so

      recorded is void as against any person who subsequently purchases or

      acquires by exchange or contracts to purchase or acquire by exchange."

58.   NYS Real Property Law § 306; "A person taking the acknowledgment or

      proof of a conveyance must endorse thereupon or attach thereto, a certificate,

      signed by himself, stating all the matters required to be done, known, or

      proved on the taking of such acknowledgment or prove; together with the

      name and substance of the testimony of each witness examined before him,

      and if a subscribing witness , his place of residence." "Both parties'

      admissions in open court that signatures were authentic did not, by itself,


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      constitute proper acknowledgment under CLS Dom Rel§ 236(B)(3) , which

      proscribes acknowledgment "in the manner required to entitle a deed to be

      recorded" (CLS Real P §§ 291 and 306). Matisoff v Dobi , 90 N.Y.2d 127,

      659 N.Y.S.2d 209, 681 N.E.2d 376, 1997 N.Y. LEXIS 750 (N.Y. 1997).

      "Entitlement of designated officer to take oral acknowledgment of party and

      written certification of deed, for purposes of recordation, is a restricted one;

      he/she must not take signature unless he/she knows or has satisfactory

      evidence that the person making such acknowledgment to him/her is person

      described in and who executed such instrument." Cicerale v Cicerale, 85

      Misc. 2d 1071 , 382 N.Y.S.2d 430 , 1976 N.Y. Misc. LEXIS 2120 (N.Y. Sup.

      Ct.), aff'd, 54A.D. 2d 921 , 387 N.Y.S.2d 1022, 1976 N.Y. App. Div. LEXIS

      14765 (N.Y. App. Div. 2d Dep't 1976).

59.   Plaintiff charges, ' FIRST AMERICAN ,' with aiding and abetting the illegal

      conveyance of two (2) commercial properties (711 & 730 Chester Street) from

      a corporate entity, 'BOB-SHIRL,' to a personal entity known as the, 'Bob

      Brodsky Revocable Trust,' [Exhibit #11] thereby conveying official legal

      documents that have no acknowledgment, are not proved and bear no

      notary public stamp and/or seal in consonance to amongst others, NYS Real


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      Property Law§ 292, NYS Real Property Law§ 291, NYS Real Property

      Law § 292 and GBS § 1104(a).

60.   ' FIRST AMERICAN ,' must be charged with unlawfully aiding and abetting

      the conveyance of two (2) commercial properties (711 & 730 Chester Street)

      and be held accountable for the irreparable material harm these actions

      caused Plaintiff. The combined value of the properties at issue are worth in

      excess of, ' SEVEN MILLION DOLLARS ' ($7,000,000.00).

               x.   COUNTTHREE
      FRAUDINTHECONCEALMENTOFCONVEYANCEOFREAL
                      PROPERTY
61.   Plaintiff re-alleges and incorporates the foregoing allegations as set forth

      herein of this Complaint.

62.   WHEREFORE, Plaintiff brings this proceeding on behalf of himself.

63.   Both '711 CHESTER' and 730 CHESTER,' two commercial warehouse

      properties, had beenjointly purchased by the, 'PARTNERs' in 1980 and

      1981 respectively.

64.   Swartz v Swartz , 2014 N.Y. Misc. LEXIS 2301 , Supreme Court, 10th JD ,

      May 14, 2014; 'As a general rule , the relief to which a defrauded creditor

      is entitled in an action to set aside a fraudulent conveyance is limited to

      setting aside the conveyance of the property which would have been

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      available to satisfy the judgment had there been no conveyance (see Joslin v

      Lopez, 309 AD2d 837, 765 NYS2d 895 [2d Dept 2003]).'

65.   NY CLS CPLR § 213(8); 'An action based upon fraud; the time within

      which the action must be commenced shall be the greater of six years from

      the date the cause of action accrued or two years from the time the plaintiff

      or the person under whom the plaintiff claims discovered the fraud, or could

      with reasonable diligence have discovered it. '

66.   Although haling themselves as, 'EXPERTS,' 'FIRST AMERICAN,'

      effectuated the conveyance of two (2), 'Bargain and Sale Deed, with

      covenant,' bearing NO acknowledgement, endorsed with NO prove and

      bearing NO certificate and/or seal associated with a licensed notary public in

      consonance to amongst others, NYS Real Property Law § 292, NYS Real

      Property Law § 291, NYS Real Property Law § 292 and GBS § 1104(a).

67.   'FIRST AMERICAN,' must be charged with unlawful concealment and

      aiding and abetting the conveyance of two (2) commercial properties (711 &

      730 Chester Street) that caused irreparable material harm to Plaintiff. The


      value of both properties combined are worth in excess of, 'SEVEN




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      MILLION DOLLARS ' ($7,000,000.00). The emotional distress caused by

      these unlawful actions can never be rectified.

               XI.          COUNT FOUR
               DECEPTIVE ACTS AND PRACTICES UNLAWFUL
                   NY CLS GENERAL BUSINESS § 349(a)

68.   Plaintiff re-alleges and incorporates the foregoing allegations as set forth

      herein this Complaint.

69.   WHEREFORE, Plaintiff brings this proceeding on behalf of himself.

70.   Both '711 CHESTER' and '730 CHESTER,' two (2) commercial warehouse

      properties , had been jointly purchased by the Partners in 1980 and 1981

      respectively.

71.   NY CLS GENERAL BUSINESS § 349(a), 'Deceptive acts or practices in

      the conduct of any business, trade or commerce or in the furnishing of any

      service in this state is hereby declared unlawful. '

72.   Although 'FIRST AMERICAN' haling themselves as , 'experts,' unlawfully

      aided and abetted the conveyance of real property with a, 'Bargain and Sale

      Deed, with covenant,' bearing NO acknowledgement, bearing NO prove and

      bearing NO certificate or seal associated with a licensed notary public in




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      consonance to amongst other things , NY CLS General Business Law§

      349(a).

73.   CLS Gen Bus § 349 does not require businesses to ascertain consumers'

      individual needs, and to guarantee that each consumer has all relevant

      information specific to situation; however a , ' scenario is quite different'

      where a business alone possesses material information that is relevant to

      that consumer and fails to provide such information. Oswego Laborers'

      Local 214 Pension Fund v Marine Midland Bank, N. A., 85 N.Y.2d 20, 623

      N.Y.S. 2d 529, 647 N.E.2d 741 , 1995 N.Y. LEXIS 145 (N.Y. 1995).

74.   It is clear that the legislative purpose of enacting General Business Law

      § 349, was to follow in the steps of the Federal Trade Commission with

      respect to the interpretation of deceptive acts and practices outlawed by§ 5

      of the Federal Trade Commission Act. State by Lefkowitz v Colorado State

      Christian College of Church of Inner Power, Inc. , 76 Misc. 2d 50, 346

      N.Y.S.2d 482, 1973 N'.Y. Misc. LEXIS 1430 (N.Y. Sup. Ct. 1973).

75.   N.Y. Gen. Bus. Law § 349, precluding deceptive acts or practices that

      mislead consumers in a material way, does not define its materiality but is

      modeled after 15 U.S.C.S. § 45 of the Federal Trade Commission Act,


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      15 U.S.C.S. § 41 et seq., which prohibits unfair and deceptive acts affecting

      commerce, so the materiality prong of a claim under N.Y. Gen. Bus. Law§

      349 is evaluated by examining case law interpreting 15 U.S.C.S. § 45.

      Bildstein v MasterCard Int'l Inc. , 329 F. Supp. 2d 410, 2004 U.S. Dist.

      LEXIS 14313 (S.D.N.Y. 2004). People v. FirstAm. Corp. , 76A.D.3d 68,

      Appellate Division 1st Department, June 8 , 2010, 'The Attorney General

      was not precluded by federal regulations from pursuing litigation against

      Defendants alleging they unjustly enriched themselves by repeated use of

      fraudulent, deceptive and illegal business practices in permitting certain

      residential real estate appraisers to be influenced by a nonparty mortgage

      lender to increase real estate property values on appraisal reports in order to

      inflate home prices. ' Frazier v. Priest, 141 Misc. 2d 775, City Ct. , November

      10, 1988, 'The court held that the lease or sale of real property was subject

      to the same treatment as a sale of personal property, and that any lease or

      sale to a consumer in New York enjoyed the protection of N.Y. Gen. Bus.

      Law§ 349. '

         XII.          COUNT FIVE
       REPEATED AND PERSISTENT FRAUD IN VIOLATION OF
              NEW YORK EXECUTIVE LAW§ 63(12)


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76.   Plaintiff re-alleges and incorporates the fore going allegations as set

      forth herein this Complaint.

77.   'FIRST AMERICAN,' engaged in repeated and/or persistent fraud in

      violation of Executive Law § 63(12) in the course of its aiding and abetting

      the illegal conveyance of two (2) properties, '711 CHESTER' and '730

      CHESTER' bearing NO licensed notary public endorsement.

78.   'FIRST AMERICAN' engaged in repeated and/or persistent fraud in

      violation of Executive Law § 63(12) by endorsing false statements and/or

      omissions, thereby abrogating its fiduciary duty in consonance to New York

      State Law on each of its applications to engage in the business of furnishing

      title insurance to consumers.

79.   ' FIRST AMERICAN,' damaged Plaintiff who is resident in New York State,

      and obtained its ' ill-gotten pecuniary remuneration, through repeated and

      persistent fraud in violation of Executive Law§ 63(12).

          XIII.          COUNT SIX
      REPEATED AND PERSISTENT ILLEGALITY IN VIOLATION OF
                NEW YORK EXECUTIVE LAW§ 63(12)

80.   Plaintiff re-alleges and incorporates the fore going allegations as set

      forth herein this Complaint.


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81.   ' FIRST AMERICAN' engaged in repeated and/or persistent illegality in

      violation of N.Y. Executive Law § 63(12) in the course of, aiding and

      abetting the illegal conveyance of real property bearing NO licensed notary

      public endorsement in consonance to New York State Law.

82.   ' HRST AMERICAN ,' engaged in repeated and/or persistent illegality in

      violation of N.Y. Executive Law § 63(12) through violations pursuant too

      inter alia: (i) General Business Law § 349.

83.   'HRST AMERICAN' damaged Plaintiff who is resident in New York State,

      and obtained its' ill-gotten pecuniary remuneration, through repeated and

      persistent illegality in violation of N.Y. Executive Law§ 63(12).

        XIV.                  COUNT SEVEN
                           COMMON-LAW FRAUD

84.   Plaintiff re-alleges and incorporates the fore going allegations as set

      forth herein this Complaint.

85.   ' HRST AMERICAN,' knowingly effectuated material misrepresentations

      and/or omissions of facts to Plaintiff, when it aided and abetted the illegal

      conveyance of real property bearing NO licensed notary public endorsement,

      as set forth in detail herein.



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86.   'FIRST AMERICAN,' was aware at the time when 'BB' effectuated the

      illegal conveyance of real property, with a, 'Bargain and Sale Deed, with

      covenant,' bearing NO acknowledgement, NO proof and NO certificate and/

      or seal bearing a licensed notary public endorsement in consonance to

      amongst others, NYS Real Property Law § 292, NYS Real Property Law §

      291, NYS Real Property Law§ 292 and GBS § 1104(a). Although

      harboring that knowledge did not prevent 'BB' from effectuating these

      misrepresentations and/or false omissions, or alternatively reckless

      incantations which thereby rendered those representations as 'Void ab Initio.

87.   'FIRST AMERICAN' intended for Plaintiff rely on its misrepresentations

      and/or omissions, at time of conveyance of real property bearing NO

      licensed notary public endorsement.

88.   Plaintiff did in fact rely upon 'FIRST AMERICANs' misrepresentations and/

      or ormss1ons.

89.   By reason of Plaintiffs reliance on 'FIRST AMERICANs'

      misrepresentations and/or omissions of material fact, Plaintiff suffered direct

      and consequential injury.




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90.   ' FIRST AMERICANs ' fraudulent conduct is egregious, as directed towards

      Plaintiff, and involved a high degree of moral culpability.

                 xv.              COUNT EIGHT
                                  CONSPIRACY

91.   Plaintiff re-alleges and incorporates the foregoing allegations as set forth

      herein this Complaint.

92.   ' FIRST AMERICAN ,' willingly engaged in a campaign to conspire with

      Does 1 through 5, thereby knowingly effectuating material

      misrepresentations and/or omissions of facts to Plaintiff, in order to aid and

      abet the illegal conveyance of real property bearing NO licensed notary

      public endorsement, as set forth in detail herein.

93.   ' FIRST AMERICAN' employed these tactics in an effort to aggrandize

      profits derived from the sale of title insurance.

94.   ' FIRST AMERICAN ,' promulgated false or misleading statements directly

      too plaintiff to further the objectives of the conspiracy.

95.   Plaintiff was directly and proximately injured by ' FIRST AMERICAN ,'

      when it conspired with Does' 1 through 5 , in an amount to be determined at

      trial.

               XVI.               COUNT NINE

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           VIOLATION OF THE RACKETEER INFLUENCED
           CORRUPTION ACT (RICO) 18 U.S.C. § 1961 et seq.,

96.   Plaintiff re-alleges and incorporates the fore going allegations as set

      forth herein this Complaint.

97.   Each officer, director, executive and manager associated with, ' FIRST

      AMERICAN ' who schemed to defraud Plaintiff, through a pattern of

      racketeering activities within the meaning of, 18 U.S.C. §§ 1961(1),

      1961(5) , 1961(5) and 1962(c) and used mail or wire facilities , is in

      violation of 18 U.S.C. § 1341 (mail fraud) and§ 1343 (wire fraud) and are

      guilty of violating at least two (2) RICO predicate acts of racketeering.

98.   ' FIRST AMERICAN' aided, abetted and committed two predicate acts of

      racketeering , 18 U.S.C. §§ 1341 and 1343. 'FIRST AMERICAN,'

      effectuated the same methods to fraudulently convey two (2) parcels of

      real property bearing NO licensed notary public endorsement. As evidenced

      herein. A great deal of these illegal activities were effectuated in violation of

      the laws governed by the State of Delaware. Along with telephone, chat and

      email meetings, ' FIRST AMERICAN' concomitantly with Does' 1 through




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      5, hatched and promoted the aforementioned fraudulent scheme by

      using the phone, mail and internet to communicate their criminal activities.

99.   ' FIRST AMERICAN ,' obtained pecuniary remuneration under materially

      false or fraudulent pretenses, false representations, false promises and by

      furthering an ongoing pattern of concealment and criminality. 'FIRST

      AMERICAN' concomitantly with Does' 1 through 5 , concealed these

      fraudulent activities when they willingly engaged in criminal racketeering

      activities to further aggrandize profits at any cost.

100. These RICO predicated acts of racketeering (18 U.S.C. § 1961(1)) include,

      but are not limited to:

      (a) Mail Fraud: 'FIRST AMERICAN' violated 18 U.S.C. § 1341 by sending

      or receiving , or by causing to be sent and/or received , materials via U.S.

      mail or commercial interstate carriers for the purpose of executing the

      unlawful scheme to fraudulently convey two (2) parcels of real property

      bearing NO licensed notary public endorsement.

      (b) Wire Fraud: 'FIRST AMERICAN ' violated 18 U.S.C. § 1343 by

      transmitting and/or receiving , or by causing to be transmitted and/or

      received , materials by wire for the purpose of executing an unlawful scheme


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      to defraud and obtain money from Plaintiff on false pretenses ,

      misrepresentations, promises , and/or omissions.

101. Plaintiff implores the court to impose treble damages at three times actual

      damages , along with equitable relief for costs associated with this litigation

      pursuant to 18 U.S.C. § 1964-(c).

          XVII.           COUNT SIX
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

102. Plaintiff re-alleges and incorporates the foregoing allegations as set forth

      herein this Complaint.

103. WHEREFORE, Plaintiff brings this proceeding on behalf of himself.

104. Both, '711 CHESTER' and '730 CHESTER,' two commercial warehouse

      properties, had beenjointly purchased by the ' PARTNERs' in 1980 and 1981

      respectively.

105. The most frequently used definition for intentional infliction of emotional

      distress (IIED) is "one who by extreme and outrageous conduct intentionally

      or recklessly causes severe emotional distress to another is subject to

      liability for that emotional distress and for any bodily harm that results from

      it." In other words, if a Defendant intentionally does something truly awful

      to a Plaintiff, the Plaintiff can sue for IIED and recover damages simply for

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       his or her emotional pain and suffering. If the severe emotional distress also

       makes the Plaintiff ill or causes some other physical problem, the Plaintiff

       can recover damages for that harm as well.

       PLAINTIFFs' DISABILITY


106. Plaintiff has been found to be disabled by adjudication at the Federal

       Courthouse, Social Security Administration, Office of Adjudication and

       Review (ODAR), 100 Federal Plaza, Central Islip, New York. A [v]erdict of

       "Fully Favorable" was rendered in June, 2016 and again in July, 2017

       [Exhibit #1].


107. During those hearings, seven (7) board certified physicians gave sworn

       testimony in addition to presentation of more than four hundred pages of

       verified medical records that concomitantly affirmed Plaintiff as being

       fully disabled [Exhibit #1].

108.   16Further,   many studies have described relationships between psychological

       stress and poor outcomes in RA, including disease flares, says Daniel Clauw,

       MD, professor of anesthesiology, rheumatology and psychiatry at the

       University of Michigan in Ann Arbor (Published by the Arthritis Foundation,


16The Arthritis Foundation is a nonprofit organization that is dedicated to addressing the
needs of people living with arthritis in the United States.

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       Jennifer Davis author) . In a Dutch study published the same year in


       17Annals of the Rheumatic Diseases, researchers found a correlation between

       worry, RA symptoms and disease activity.

109.   18 Stress   can make your RA worse , so you' ll want to take action to keep that

       from happening. Researchers still don't fully understand the connection

       between stress and rheumatoid arthritis. The cause may involve substances

       related to the stress response and inflammation (WebMD Medical Reference

       Reviewed by David Zelman, MD on March 8, 2018) .


110. " 19Patients commonly report that stress, either physical or emotional, was

       present or severe when their RA began. This is true in other autoimmune

       disorders as well. Since the mind-body connection is real , most physicians

       appreciate the linkage between stress and disease onset or

       exacerbation." (HSS is the #1 orthopedic hospi tal in the U. S. This content was written




11The Annals of the Rheumatic Diseases is a peer-reviewed medical journal. It is co-owned
by the BMJ Group and the European League Against Rheumatism and covers all aspects of
rheumatology, including musculoskeletal conditions, arthritis, and connective tissue diseases.
18 WebMD is an American corporation known primarily as an online publisher of news and
information pertaining to human health and well-being.l4l The site includes information
pertaining to drugs. It is one of the top healthcare websites by unique visitors.
19Hospital for Special Surgery (HSS) is a hospital in New York City that specializes in
orthopedic surgery and the treatment of rheumatologic conditions

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         or reviewed by HSS physicians who have expert knowledge and experience in

         musculoskeletal care).


111. Plaintiff is currently receiving treatment from, 20Dr. Jason Faller, 21 Dr. Gary

         Schwartz, 22Dr. K.iran Patel and 23 Dr. Laurence D. Haber, for pain and

         suffering caused by the emotional and physical distress caused by the

         unlawful actions of 'HRST AMERICAN' and Does' 1 through 5.

              XVIII.                  COUNTSEYEN
                        CONSPIRACY TO DEFRAUD
112. Plaintiff re-alleges and incorporates the foregoing allegations as set forth

         herein this Complaint.

113. WHEREFORE, Plaintiff brings this proceeding on behalf of himself.

114. Both, '711 CHESTER' and '730 CHESTER,' two commercial warehouse

         properties , had beenjointly purchased by the , 'PARTNERs' in 1980 and

         1981 respectively.




20Dr. Jason Faller is an experienced, board certified Rheumatologist with interests in
rheumatoid ... 333 W. 57th Street, Suite 104, New York, NY 10019

21Dr. Gary Schwartz, MD is an interventional pain medicine specialist in Great Neck , NY and
has been practicing for 12 years
22 Dr.Patel is board certified in Pain Management and Anesthesiology. She completed both her
lnterventional Pain Medicine fellowship and Anesthesiology residency at the prestigious
Columbia University Medical Center-New York Presbyterian Hospital.
23   Dr. Laurence D Haber is a Neurology Specialist in Great Neck, New York

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115. The standard definition of a conspiracy to defraud was provided by 24Lord

       Dilhome in Scott v Metropolitan Police Commissioner, when he said that it

       is clearly the law that an agreement by two or more by dishonesty to deprive

       a person of something which is his or to which he is or would be entitled and

       an agreement by two or more by dishonesty to injure some proprietary right

       of his , suffices to constitute the offense of conspiracy to defraud.

116. On August 12, 2010, an attorney " 25MICHAELANGUILO , Esq. ," in

       conjunction with, ' BB ' and ' Sandi Ingber' (executrix) and Does' 1 through 5,

       employed the expert services of, 'HRST AMERICAN,' to unlawfully

       convey two (2) commercial properties, '711 CHESTER' and '730

       CHESTER. ' As duly notated herein are numerous passages, establishing the

       illegal conveyance of real property by effectuating a, ' Bargain and Sale

       Deed, with Covenant,' provided by, 'HRST AMERICAN. ' The two (2)

       conveyances of real property bear NO acknowledgement, NO prove and NO

       signature, certificate or seal affirming notarization by a licensed notary

24Reginald Edward Manningham-Buller, 1st Viscount Dilhorne, PC (1 August 1905 - 7
September 1980), known as Sir Reginald Manningham-Buller, Bt, from 1954 to 1962 and as
The Lord Dilhorne from 1962 to 1964, was an English lawyer and Conservative politician. He
served as Lord Chancellor from 1962 to 1964.
25Linkedin, " I am an estate planning attorney with my own firm, Michael Angiulo & Associates
LLC and I have spent over twenty-five years preparing Wills & Trusts; advising clients on Elder
Law issues; handling Probate matters; dealing with Estate and Gift Tax issues; filing Medicaid
Applications; and, representing small business owners."

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      public. This unlawful act was intentionally promulgated by the conspirators

      to maliciously defraud Plaintiff out of the fruits of his hard lalx>r. Plaintiff

      endured years of pain and suffering when he worked night and day to build a

      successful business only to have Plaintiffs' most valued assets (Real Property)

      stolen from him by the conspirators without any forethought of the

      irreparable harm inflicted upon him. Mahan v.Suntrust Mortg., Inc. , 2015

      U.S. Dist. LEXIS 73887, Florida Middle District Court, June 8 , 2015; "18

      U.S.C. § 1021 is a criminal statute that provides that any person who is

      authorized to record a conveyance of Real Property who falsely records such

      a conveyance may be fined and/or imprisoned for up to five years. "

      Excelsior Capital LLC v. Allen, 2012 U.S. Dist. LEXIS 140697, New York

      Southern District Court, September 26, 2012; Ariz. Rev. Stat. Ann. §

     33-40l(A) (emphasis added). Moreover, "Every deed or conveyance of real

      property must be signed by the grantor and must be duly acknowledged

      before some officer authorized to take acknowledgments." Id. § 33-401(B)

      (emphasis added); Watts v. Hogan , 111 Ariz. 536, 537, 534 P.2d 741 (Ariz.

      1975) ("All parties having an interest in the land to be conveyed must sign

      the instrument of conveyance."). Any transfer of title purporting to convey


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      the land without the approval of the grantor, as evidenced by the grantor's

      signature or that of his agent, is void. See Crawford v. Williams, 1 CA-CV

      07-0894, 2008 WL 5066207, at *5 (Ariz. Ct. App. Nov. 28, 2008); In re

      Estate of Kominek, 1 CA-CV 09-0508, 2011 Ariz. App. Unpub. LEXIS 388,

      2011 WL 941264, at *5 (Ariz. Ct. App. Mar. 17, 2011); see also Ariz. Rev.

      Stat. Ann. § 33-420 ("A document purporting to create an interest in, or a

      lien or encumbrance against, real property not authorized by statute,

      judgment or other specific legal authority is presumed to be groundless and

      invalid.").

                 XIX.           COUNT EIGHT
                        VIOLATION OF 18 U.S.C. § 1028A
                        AGGRAVATED IDENTITY THEFT
117. Plaintiff re-alleges and incorporates the foregoing allegations as set forth

      herein this Complaint.

118. 'FIRST AMERICAN' aided and abetted the conveyance of real property

      using a fake and/or spurious 'Employer Identification Number [Exhibit #17].'

119. 'BOB-SHIRL' never applied for nor was granted a Federal or New York

      State, 'Employer Identification Number' a/k/a 'EIN ,' by the Internal

      Revenue Service or by the New York State Department of Taxation and

      Finance.

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120. 'BOB-SHIRL,' [a] c-corporation, was formed for the sole purpose to

     function as a shell corporation for two (2) parcels of real Property in

      Brooklyn, New York; '711 CHESTER' and '730 CHESTER. '

121. 'BOB-SHIRL' never transacted business, never applied for or was assigned a

      bank checking or savings account and never filed a Federal, State or City of

      New York Tax Return because it never engendered income or profit.

122. In reference to, Flores-Figueroa v. US, 556 US 646 - Supreme Court 2009;

      Justice BREYER delivered the opinion of the Court, 'A federal criminal

      statute forbidding "[a]ggravated identity theft" imposes a mandatory

      consecutive 2-year prison term upon individuals convicted of certain other

      crimes if, during (or in relation to) the commission of those other crimes, the

      offender "knowingly transfers, possesses, or uses, without lawful authority, a

      means of identification of another person." 18 U.S.C. § 1028A(a)(l)

      (emphasis added). The question is whether the statute requires the

      Government to show that the defendant knew that the "means of

     identification" he or she unlawfully transferred, possessed, or used, in fact,

      belonged to "another person." 'We conclude that it does.'




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      NEW YORK CITY REAL PROPERTY TRANSFER TAX RETURN

123. On August 12, 2010 ' BB ' proffered a, New York City Real Property Transfer

      Tax Return (NYCRPTTR)[Exhibit #15] , that as executed bears no date of

      signing, no pecuniary consideration, no witness, no proof, acknowledgement

      or notary public stipulation by a New York State notary public and no notary

      public endorsement stamp (711 CHESTER and 730 CHESTER).

124. The same ' NYCRPTTR' bears an ' Employer Identification Number, (EIN)'

      ' XX-XXXXXXX ' allegedly pertaining to, ' BOB-SHIRL' and ' BOB BRODSKY,

      SURVIVING SPOUSE OF SHIRLEY BRODSKY. '

125. ' EIN,' XX-XXXXXXX is either ' spurious' or is related to ' Does' 1 through 5 in

      consonance to 18 USC§ 1028A(a)(l) as notated by Justice Stephen Breyer

      in a decision rendered by, ROBERTS , CJ. , and STEVENS , KENNEDY,

      SOUTER, and GINSBURG , JJ. , and SCALIA , J. , in which THOMAS , J. ,

      joined , post, pp. 1894-1895; in Flores-Figueroa v. US , 556 US 646 -

      Supreme Court 2009. Compare United States v. Godin, 534 F.3d 51 (C.A.l

      2008) (knowledge requirement applies to "of another person"); United States

      v. Miranda-Lopez, 532 F.3d 1034 (C.A.9 2008) (same); United States v.

      Villanueva-Sotelo, 515 F.3d 1234 (C.A.D.C.2008) (same), with United



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      States v. Mendoza-Gonzalez, 520 F.3d 912 (C.A.8 2008) (knowledge

      requirement does not apply to "of another person"); United States v.

      Hurtado, 508 F.3d 603 (C.A.11 2007) (per curiam) (same); United States v.

      Montejo, 442 F.3d 213 (C.A.4 2006) (same).

      NEW YORK STATE DEPARTMENT OF TAXATION AND FINANCE REAL
      ESTATE TAX RETURN
126. OnAugust 12, 2010 ' BB' proffered a, 'New York State Department of

      Taxation and Finance,' a, 'Combined Real Estate Transfer Tax Return, Credit

      Line Mortgage Certificate, and Certification of Exemption from the Payment

      of Estimated Personal Income Tax (NYSDTFCEPEPIT)[Exhibit #16],' that as

      inscribed bears no date of signing, no pecuniary consideration, no witness,

      no proof, acknowledgement or notary public endorsement by a New York

      State licensed notary public and no notary public stamp (711 CHESTER and

      730 CHESTER).

127. The same 'NYSDTFCEPEPIT' bears an 'Employer Identification Number,

      (EIN)' 'XX-XXXXXXX' inscribed pertaining to both, 'BOB-SHIRL' and 'BOB

      BRODSKY, SURVIVING SPOUSE OF SHIRLEY BRODSKY.'

128. 'EIN,' XX-XXXXXXX is either ' spurious' or is attached in some manner to

      'Does' 1 through 5 in consonance to 18 USC§ 1028A(a)(l) as notated by



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     Justice Stephen Breyer in a decision rendered by, ROBERTS, C.J. , and

      STEVENS, KENNEDY, SOUTER, GINSBURG, JJ., SCALIA, J., in which

      THOMAS, J.,joined ,post, pp. 1894-1895; in Flores-Figueroa v. US , 556 US

      646 - Supreme Court 2009. Compare United States v. Godin, 534 F.3d 51

      (C.A.1 2008) (knowledge requirement applies to "of another person");

      United States v. Miranda-Lopez, 532 F.3d 1034 (C.A.9 2008) (same); United

      States v. Villanueva-Sotelo, 515 F.3d 1234 (C.A.D.C.2008) (same), with

      United States v. Mendoza-Gonzalez, 520 F.3d 912 (C.A.8 2008) (knowledge

      requirement does not apply to "of another person"); United States v.Hurtado,

      508 F.3d 603 (C.A.11 2007) (per curiam) (same); United States v. Montejo,

      442 F.3d 213 (C.A.4 2006) (same).

      NEW YORK STATE - IDENTITY THEFT

129. The New York State Legislature has taken steps to deal with the burgeoning

      crisis of identity theft. General Business Law § 380-s, which is part of

      Article 25, the Fair Credit Reporting Act, provides:

      Theft of Identity.   No person, firm, partnership, corporation, or

      association or employee thereof shall knowingly and with the intent to

      defraud, obtain, possess, transfer, use or attempt to obtain, possess



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     transfer, or use credit, goods, services or anything else of value in the

     name of another person without his or her consent.

130. At the same time the General Business Law§ 380-1 was amended to

      provide:

      'Any person, firm, partnership, corporation, or association whose knowing

     and willful violation of section three hundred eighty-s of this article resulted

      in the transmission or provision to a consumer reporting agency of

     information that would otherwise not have been transmitted or provided, and

     any consumer reporting agency or user of information who or which

     willfully and knowingly fails to comply with any requirement imposed

     under this article with respect to any consumer is liable to that consumer in

     an amount equal to the sum of: (a) Any actual damages sustained by the

     consumer as a result of such failure or as a result of a violation of section

     three hundred-s of this article; (b) Such amount of punitive damages as the

     court may allow; and (c) In the case of any successful action to enforce any

     liability under this section, the costs of the action together with reasonable

     attorney's fees as determined by the court.

     HAS THE PLAINTIFF PLEADED A CAUSE OF ACTION OF PRIMA FACIE
     TORT?


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131. Although not specifically pleaded by Plaintiff do the facts of this case

      establish a cause of action for prima facie tort? Prima facie tort is often

      used as a classification for a cause of action arising from the Plaintiff

      suffering the intentional infliction of economic damages without excuse or

      justification by the Defendant's actions. The elements of a cause of action

      for prima facie tort are: (1) the intentional infliction of harm; (2) that results

      in special damages; (3) without excuse or justification; (4) by an act or

      series of acts that would otherwise be lawful.

        xx.                    PRAYER FOR RELIEF

            WHEREFORE, Plaintiff pray 's for Judgment against

            Defendants as fallows :

              On all Causes of Action Against (Counts) Defendants, and Each

            of Them, as Follows:

      (A)   That the conveyance of real property belonging to Plaintiff, which was

              surreptitiously and unlawfully conveyed to Bob Brodsky, The

            Revocable Trust of Bob Brodsky, The Estate of Bob Brodsky and

              Sandi Ingber a/k/a Executrix, concomitantly with SBI Properties ,



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           LLC., which was the beneficiary of a largess engendered to it by

           inheritance of commercial properties belonging to,'BOB-SHIRL,'

           (711 Chester Street, Brooklyn, New York 11236 and 730 Chester Street,


               Brooklyn, New York 11236); be set aside and declared, 'Void Ab Initio. '


           All rents unlawfully collected by 'SBI Properties, LLC., from tenants

           occupying those commercial properties explicated herein (711

           CHESTER and 730 CHESTER), from January 9, 2013 until a date to

           be proven at trial; in the sum of approximately $900,000.00 (exact

           amount to be proven at trial), plus interest thereon at the rate of 10% per


           annum according to proof at trial;

     (B)   On all Causes of Action (Counts), against Defendants, Each of Them

           as follows:

           An amount to be proven at trial as the Court see's fit;

     (C)   For Exemplary or Punitive Damages in an amount according to proof

               at trial:

     (D)   The court must impose an Equitable Lien or Les Pendant on the two

           (2) aforementioned commercial properties (711 CHESTER and 730

           CHESTER), and each of them, to prevent said beneficiaries of the


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            Bob Brodsky Estate, from retaining and enjoying the benefits of any

               property belonging to Plaintiff;

      (E)   That a Temporary Restraining Order be granted Plaintiff enjoining and

               restraining the beneficiaries of the Bob Brodsky Estate and its' heirs ,

               spouses, representatives , attorneys , servants and agents from selling,

               transferring , conveying or otherwise disposing of any of the

               hereinabove described properties unlawfully conveyed to them;

      (F)      Compensatory Damages as the Court see's fit at proof of trial;

      (G)   General Damages in an amount to be proven at trial as the Court see's

               fit·
                  '

      (H)   Declaratory Relief, including but not limited to , the following decree's

               by this Court that:

      (1)      Plaintiff is the prevailing party;

      (2)      The beneficiaries have no enforceable secured or unsecured claim

               against the properties;

      (3)      ' FIRST AMERICAN' has no enforceable secured or unsecured claim

               against the properties;

      (I)      For restitution as allowed by law;


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     (J)       Recovery of all costs associated with this legal action;

     (K)      Damages for the Intentional Infliction of Emotional Distress;

     (L)   Damages for the Negligent Infliction of Emotional Distress;

                           PLAINTIFF'S AFFIRMATION

     Plaintiff, Jay Brodsky, under penalty of perjury hereby affirms that all

     statements offact put forth in this Complaint are true to the best of his

     knowledge.




     Jay Br




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